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§ AO 94 (Rev. 8/97) Commitment to Another Districl

 

UNITED STATES DiSTRlCT CoURT

 

 

 

 

 

 

 

 

NORTHERN District of FLORJDA
UNITED STATES oF AMERICA COMMITMENT TO ANOTHER
V. DISTRICT
HELEN WILLIAMS
DOCKET NUMBER l MAGISTRATE JUDGE CASE NUMBER
District oi`Arrest District ofOffense District ofArrest District ot`Off`ense
97~73-T-PROB-MOORE 4105n“i_j133-WCS
CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
I:I Indicnnent [:| Information [:l Cornplaint X Other (specify) Petition for Violation of SR
charging a violation of U.S.C. §
DISTRICT OF OFFENSE
SOUTHERN DISTRICT OF FLORIDA
DESCRIPTION OF CHARGES:

VIOLATION OF SUPERVISED RELEASE

 

CURRENT BOND STATUS:

[] Bail fixed at and conditions were not met
Government moved for detention and defendant detained after hearing in District ofAnest

l:| Govemment moved for detention and defendant detained pending detention hearing in Distriet of Offense

{:l Other (specify)

Representation: I:I Retained Own Counsel X F ederal Defender Organization E CJA Attorney E None

 

Interpreter Required? X No [_`_I Yes Language:

 

 

DISTRICT oF FLORIDA (NORTHERN)
TO: THE UNITED STATES MARSHAL

  

authorized to receive the defendant . (
/ d - 3 -o$ //L%MM

Date United States Judge or Magistrate Judge

 

RETURN

 

 

This commitment Was received and executed as follows:

 

 

DATE COMMITMEN'I` ORDER RECE|VED PLACE OF COMMITMENT DATE DEFEND/\NT COMMITTED

 

 

 

DATE

 

 

UNITED STATES MARSHAL (BY) DEPUTY MARSHAL

 

 

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